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 8                                    UNITED STATES DISTRICT COURT

 9                            FOR THE EASTERN DISTRICT OF CALIFORNIA

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11         THOMAS SCHMITZ, et al.,                       No. 2:20-cv-0195 DJC CKD (PS)

12                          Plaintiffs,
13               v.                                      ORDER

14         ADAM ASMAN, et al.,
15                          Defendants.
16

17              Plaintiffs Thomas Schmitz 1 and Dianne Mallia proceed without counsel with civil rights

18     claims brought under 42 U.S.C. § 1983. This case is before the court for a further order on the

19     motion for protective order filed by defendants Adams, Andaluz, Ashe, Asman, Branman,

20     Brizendine, Brockenborough, Ceballos, Diaz, Heatley, J. Johnson, R. Johnson, Kernan, Ponciano,

21     Ramkumar, Rekart, Robinson, Rudas, M. Smith, C. Smith, Tebrock, Toche, and Waine

22     (“defendants”) as to a third-party subpoena issued by plaintiff Mallia to non-party Dr. Michael

23     Golding. (ECF No. 323.) On February 16, 2024, the court granted in part and denied in part the

24     motion for a protective order and ordered documents relevant to Request for Production No. 26,

25     relating to communications sent or received by Dr. Golding, be submitted for in camera review.

26     (ECF No. 344.) Having reviewed the documents responsive to Request for Production No. 26

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        Plaintiff Dr. Thomas Schmitz has been found legally incompetent to prosecute this case pro se
28     within the meaning of Rule 17(c) of the Federal Rules of Civil Procedure. (ECF No. 399.)
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 1     along with defendants’ privilege log and supplemental statement (see ECF No. 410), the court

 2     orders further production for the following reasons.

 3            Defendants’ assertions of HIPAA and physician-patient privilege for all documents are

 4     overruled for the reasons previously stated. (See ECF No. 408 at 1-2.) However, a patient’s

 5     constitutional right of privacy in receiving medical treatment is an alternative source of protection

 6     to the physician-patient privilege in this instance. See Caesar v. Mountanos, 542 F.2d 1064, 1067

 7     (9th Cir. 1976) (discussing a conditional right of privacy in the doctor-patient relationship). In

 8     this instance, defendants will be ordered to redact identifying information for inmate-patients

 9     whose medical conditions are not at issue in this case in the documents Bates Stamped IC005208-

10     005483.

11            As to categories 3 and 4 as designated in defendants’ privilege log, documents Bates

12     Stamped IC005517-005529 and IC005530-005559, defendants additionally assert attorney-client

13     privilege and attorney work product. In support of these claimed privileges, defendants assert the

14     following:

15                    The grounds for asserting attorney-work production and client
                      privilege regarding the documents identified by the Court by Bates
16                    Stamp Nos. IC005517-005529 and IC005530-005559 based on the
                      fact that the data analysis/collection contained as an attachment to
17                    Defendant PONCIANO’s underlying email dated April 10, 2018 was
                      sent to CDCR attorneys, Nicholas Weber, Esq. and co-counsel. At
18                    that time, CDCR considered multiple projects, approaches and
                      litigation strategies to address the issues identified in the Court’s
19                    October 10, 2017 Order in the Coleman litigation (ECF No. 5771)
                      and evaluation of those required strategies by the legal team required
20                    gathering underlying data on staffing fill rates, appointments,
                      timeliness of care, medication management, etc. data
21                    analysis/collection contained as an attachment to Defendant
                      PONCIANO’s underlying email was used by CDCR counsel in
22                    consideration of potential litigation strategies and approached in
                      responding to the Court’s October 10, 2017 Order in the Coleman
23                    litigation.
24     (ECF No. 410 at 2.)

25            Defendant fail to meet their burden to demonstrate that all the documents Bates Stamped

26     IC005517-005529 and IC005530-005559 are protected by the attorney-client privilege or work

27     product privilege. “The party asserting the privilege bears the burden of proving each essential

28     element.” United States v. Ruehle, 583 F.3d 600, 608 (9th Cir. 2009). “A privilege log might
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 1     serve to substantiate privilege assertions; so too might briefs, declarations and other proof or in

 2     camera review.” Apple Inc. v. Samsung Elecs. Co., 306 F.R.D. 234, 239 (N.D. Cal. 2015).

 3            The attorney-client privilege protects confidential communications between attorneys and

 4     clients made for the purpose of giving legal advice. Upjohn Co. v. United States, 449 U.S. 383,

 5     389 (1981). Whether information is covered by the attorney-client privilege is determined by an

 6     eight-part test: “(1) Where legal advice of any kind is sought (2) from a professional legal adviser

 7     in his capacity as such, (3) the communications relating to that purpose, (4) made in confidence

 8     (5) by the client, (6) are at his instance permanently protected (7) from disclosure by himself or

 9     by the legal adviser, (8) unless the protection be waived.” United States v. Graf, 610 F.3d 1148,

10     1156 (9th Cir. 2010). The attorney-client privilege is strictly construed, and a party claiming the

11     privilege “must identify specific communications and the grounds supporting the privilege as to

12     each piece of evidence over which privilege is asserted.” United States v. Martin, 278 F.3d 988,

13     999-1000. (9th Cir. 2002), as amended on denial of reh’g (Mar. 13, 2002). “[T]he communication

14     must be between the client and lawyer for the purpose of obtaining legal advice.” Id. at 1000.

15            Here, the court invited defendants to submit evidence in support of their claimed attorney

16     client privilege. (See ECF No. 408 at 2.) Defendants submitted their additional explanation set

17     forth above but did not submit any evidence such as declarations or affidavits. Cf. Kintera, Inc. v.

18     Convio, Inc., 219 F.R.D. 503, 515-516 (S.D. Cal. 2003) (sustaining privilege after consideration

19     of a declaration by in-house counsel submitted as additional evidence in support of privilege

20     claim). Taken together, defendants’ privilege log, their argument, and the in camera review do not

21     clearly show the documents Bates Stamped IC005517-005529 and IC005530-005559 were

22     communications made in confidence relating to the purpose of obtaining legal advice from CDCR

23     counsel. Defendants assert the information in the attachment to defendant Ponciano’s underlying

24     email dated April 10, 2018 was sent to CDCR counsel among others, but the specific

25     communications at issue occurred subsequently, and are emails between and among multiple

26     individuals not identified by defendants, none of whom appear to be CDCR counsel. 2 See Ayers

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         Some of the email communications are displayed under a banner with the name of counsel for
28     this case, Maria Zhurnalova-Juppunov. E.g., Document Bates Stamped IC005541. Defendants do
                                                      3
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 1     v. Lee, No. 14CV542-BGS (NLS), 2018 WL 6589834, at *6 (S.D. Cal. Dec. 14, 2018) (burden

 2     not met to show attorney-client privilege for communications between defendants based on

 3     blanket statement that the communications were for the purpose of legal advice provided by their

 4     mutual attorney and without a absence of a sworn declaration). Defendants’ assertion of attorney-

 5     client privilege for these documents is overruled.

 6             Defendants also assert documents Bates Stamped IC005517-005529 and IC005530-

 7     005559 are protected work product. “To qualify for work-product protection, documents must:

 8     (1) be prepared in anticipation of litigation or for trial and (2) be prepared by or for another party

 9     or by or for that other party’s representative.” United States v. Richey, 632 F.3d 559, 567 (9th

10     Cir. 2011) (internal quotation marks omitted). In circumstances where a document serves a dual

11     purpose, that is, where it was not prepared exclusively for litigation, then the court considers

12     whether the document can be fairly said to have been prepared or obtained because of the

13     prospect of litigation. Id. at 567-68. In making this determination, a court considers whether a

14     document “would not have been created in substantially similar form but for the prospect of

15     litigation.” Id.

16             Defendants have not met their burden to show that all the documents Bates Stamped

17     IC005517-005529 and IC005530-005559 are protected work product. First, the court considers

18     that their position is unsupported by any evidence such as declarations or sworn affidavits. See

19     generally Richey, 632 F.3d at 568 (“the district court erred by concluding the entire work file was

20     prepared in anticipation of litigation” with a lack of evidence in the record); Evanston Ins. Co. v.

21     Murphy, No. CV-19-04954-PHX-MTL, 2020 WL 4429022, at *3 (D. Ariz. July 31, 2020)

22     (“Conclusory statements of [work product protection], without affidavits or other competent

23     support, are not enough...”); cf. Kintera, 219 F.R.D. at 516 (upholding work product assertion

24     based on in-house counsel’s declaration stating the documents were authored at the behest of

25     attorneys in anticipation of litigation).

26     ////

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       not assert Ms. Zhurnalova-Juppunov was the author or recipient of any of the communications,
28     and it does not appear that was the case based on the “From” and “To” fields for those emails.
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 1              Second, even defendants’ unsworn supplemental statement fails to clearly assert each

 2     document was created or prepared solely because of litigation, or in anticipation of litigation,

 3     stating generally instead that the attachments to the underlying Ponciano email were sent to and

 4     used by CDCR counsel in consideration of potential litigation strategies. The court already

 5     informed defendants it was not readily apparent from the face of all documents for which work

 6     product was claimed that those documents were created in anticipation of litigation. (ECF No.

 7     408 at 2.) In response, defendants submitted a vague and general blanket claim of work product

 8     protection. (ECF No. 410 at 2.) The court understands defendants’ supplemental statement as

 9     indicating all the documents Bates Stamped IC005517-005529 and IC005530-005559 were

10     prepared because of ongoing litigation in the Coleman case. 3 However, in camera review does not

11     support such a conclusion for all documents.

12              The email communications Bates Stamped IC005517-IC005529 relate specifically to the

13     decedent in this case, William Schmitz, as evidence by the subject line with his name. These

14     email communications occurred in 2017, prior to his death on January 21, 2019. The court is

15     unable to conclude based on in camera review and defendants’ general assertions that these

16     documents would not have been prepared but for the prospect of litigation. See Richey, 632 F.3d

17     at 568-69.

18              In addition, defendants do not clearly state why the data analysis/collection located at

19     documents Bates Stamped IC005531-IC00540, IC005543-IC0053, and IC005555-59 was

20     originally created or prepared. The general assertion that this data was sent to and used by CDCR

21     counsel for the purpose of litigation does not suffice to show it is protected work product.

22     Defendants’ argument merely implies these documents were prepared because of ongoing

23     litigation in Coleman, and that is insufficient to meet their burden. See United States v. 22.80

24     acres of Land, 107 F.R.D. 20, 22 (N.D. Cal. 1985) (“The work-product doctrine is… narrowly

25     construed…. The party seeking to invoke the work product doctrine bears the burden of

26     establishing all the elements that trigger the protection; doubts must be resolved against the party

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           See Coleman v. Newsom, et al., 2:90-cv-00520-KJM-SCR (PC).
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 1     asserting the privilege.”). In sum, even considering the information in defendants’ supplemental

 2     statement, the court is unable to conclude the documents Bates Stamped IC005531-IC00540,

 3     IC005543-IC0053, and IC005555-59 would not have been prepared in substantially similar form

 4     but for the prospect of litigation. See Richey, 632 F.3d at 568-69.

 5               For the reasons set forth above, IT IS ORDERED that within 14 days of the date of this

 6     order, defendants shall redact identifying information only for inmate-patients whose medical

 7     conditions are not at issue in this case in the documents Bates Stamped IC005208-005483, and

 8     shall produce those documents to plaintiff Mallia along with the documents Bates Stamped

 9     IC005517-IC005529, IC005531-IC00540, IC005543-IC0053, and IC005555-59, as responsive to

10     Request No. 26 in the third-party subpoena issued to non-party Dr. Michael Golding.

11     Dated: May 14, 2025
                                                        _____________________________________
12
                                                        CAROLYN K. DELANEY
13                                                      UNITED STATES MAGISTRATE JUDGE

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